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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


CYNTHIA M. LAW,

       Plaintiff,
                                                    Case No. 1:22-cv-639
v.
                                                    Hon. Hala Y. Jarbou
COMMISSIONER OF SOCIAL
SECURITY,

      Defendant.
___________________________________/

                                            ORDER

       Plaintiff Cynthia M. Law brings this action pursuant to 42 U.S.C. § 405(g), seeking judicial

review of a final decision made by the Commissioner of Social Security. On July 17, 2023,

Magistrate Judge Ray Kent issued a Report & Recommendation (R&R) recommending that the

Court affirm the decision. (See R&R, ECF No. 16.) No objections have been filed, and the

deadline for doing so has expired. On review, the Court concludes that the R&R correctly analyzes

the issues and makes a sound recommendation.

       Accordingly,

       IT IS ORDERED that the R&R (ECF No. 16) is APPROVED and ADOPTED as the

opinion of the Court.

       IT IS FURTHER ORDERED that the decision of the Commissioner of Social Security

is AFFIRMED.
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      A judgment will enter in accordance with this Order.



Dated: August 4, 2023                            /s/Hala Y. Jarbou
                                                 HALA Y. JARBOU
                                                 CHIEF UNITED STATES DISTRICT JUDGE




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